  Fill in this information to identify the case:

               1649 New Jersey Avenue LLC
  Debtor name __________________________________________________________________
                                                                             District of Columbia
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                         (State)

  Case number (If known):       _________________________
                                                                                                                                                     Check if this is an
                                                                                                                                                        amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:        List Creditors Who Have Secured Claims
                                                                                                                               Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien
      Capital Bank, N.A.
      __________________________________________                                                                      1,085,000                          548,500
                                                                  Real property and improvements located at
                                                                 ___________________________________________________ $__________________               $_________________

     Creditor’s mailing address                                   1649 New Jersey Avenue NW Washington, DC 20001
                                                                 ___________________________________________________
       One Church Street Suite 300
      ________________________________________________________   ___________________________________________________
       Rockville Maryland 20850
      ________________________________________________________   Describe the lien
                                                                  __________________________________________________
                                                                   Deed of Trust

    Creditor’s email address, if known                           Is the creditor an insider or related party?
      _________________________________________
                                                                  No
                                                                  Yes
                            July 24th, 2018
    Date debt was incurred __________________                    Is anyone else liable on this claim?
    Last 4 digits of account
                                                                  No
    number                   ___ ___ ___ ___
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the                As of the petition filing date, the claim is:
    same property?                                               Check all that apply.
     No                                                          Contingent
     Yes. Specify each creditor, including this creditor,        Unliquidated
              and its relative priority.                          Disputed
              This lien has the most senior priority
              ___________________________________
              ___________________________________

2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
      Capital Bank, N.A.
      __________________________________________                  Real property and improvements located at           98,800                             548,500
                                                                 ___________________________________________________ $__________________               $_________________

     Creditor’s mailing address                                   1649 New Jersey Avenue NW Washington, DC 20001
                                                                 ___________________________________________________
       One Church Street Suite 300
      ________________________________________________________   ___________________________________________________
       Rockville Maryland 20850
      ________________________________________________________   Describe the lien
                                                                  __________________________________________________
                                                                   Deed of Trust

    Creditor’s email address, if known                           Is the creditor an insider or related party?
      _________________________________________
                                                                  No
                                                                  Yes
                            June 7th, 2019
    Date debt was incurred __________________                    Is anyone else liable on this claim?
    Last 4 digits of account
                                                                  No
    number                   ___ ___ ___ ___
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the                As of the petition filing date, the claim is:
    same property?                                               Check all that apply.

     No                                                          Contingent
     Yes. Have you already specified the relative                Unliquidated
              priority?                                           Disputed
          No. Specify each creditor, including this
                  creditor, and its relative priority.
                   This lien has third priority
                  _________________________________
                  _________________________________
             Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 2,606,030
                                                                                                                                $________________
    Page, if any.


   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of ___
  Debtor            _______________________________________________________
                     1649 New Jersey Avenue LLC                                                            Case number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________
     Verbena Ventures LLC
                                                                ___________________________________________________
                                                                 Real property and improvements located at
                                                                                                                              $__________________
                                                                                                                               687,000                $_________________
                                                                                                                                                        548,500

                                                                ___________________________________________________
                                                                 1649 New Jersey Avenue NW Washington, DC 20001
    Creditor’s mailing address
                                                                ___________________________________________________
      1701 Redwood Terrace NW
     ________________________________________________________

      Washington DC 20012
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
                                                                  Deed of Turst


    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
     Srr@comcast.net
                                                                 No
                                                                 Yes

    Date debt was incurred __________________
                            June 7th, 2019                      Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                     This is the second priority lien

                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
     Robinson Associates Retirement Trust LLC
                                                                ___________________________________________________
                                                                 Real property and improvements located at
                                                                                                                              $__________________
                                                                                                                               501,850                $_________________
                                                                                                                                                        548,500

    Creditor’s mailing address                                  ___________________________________________________
                                                                 1649 New Jersey Avenue NW Washington, DC 20001



                                                                ___________________________________________________
      1701 Redwood Terrace NW
     ________________________________________________________

      Washington DC 20012
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
                                                                  Deed of Trust



    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
     Srr@comcast.net
                                                                 No
                                                                 Yes
    Date debt was incurred __________________
                            July 26th, 2022                     Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                     This is the fourth priority lien

                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines _____



  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___ of ___
Debtor            1649 New Jersey Avenue LLC
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
